AVIMLS LEU EAL

Case 2:07-md-01873-KDE-MBN Document 13201-2

Name Searched On:
AMERI CAMP (Legal}

Current Information
Entity Legal Name:

AMERICAN CAMPER MANUFACTURING, LLC

Entity Address:

General Entity Information:

Controi Number: 2002052800131
Status: Admin Dissolved

Entity Type: Domestic Limited Liability Company (LEC)

Entity Creation Date: 5/24/2002
Entity Date to Expire: 12/32/2035
Entity Inactive Date: 3/25/2008

Other Names for this Entity:

Filed 04/06/10

Page | of 2
Page 1 of 1

Date Name (Type)

6/5/2002 AMERI-CAMP (Assumed)

Registered Agant(name, address, city , state zip):
PETER J. RECCHIO

1406 GREENLEAF BLVD.
ELKHART , IN 46524

Pringipals(name, address, city, state, zip - when provided)
This Limited Liability Company Does Not Have Managers.

dransactions:

Date Filed Effective Date Type

05/24/2002 05/24/2002 Articles of Organization

06/05/2002 06/05/2002 Certificate of Assumed Business Narne
03/25/2008 03/25/2008 Administrative Dissolution

Corporate Reports:
Years Paid
2004

Years Due
2006/2007 2008/2009 2010/2011

Additional Services Available:

oo

EXHIBIT

"p"

This Business Entity is not eligible to receive a Certificate of Existence / Authorization,

https://secure.in. gov/sos/bus_service/online_corps/view_details_ppv.aspx

4/6/2010

